April 11, 2025                                                               Richard Fama
                                                                             Direct Phone 212-908-1229
                                                                             Direct Fax   866-263-1334
VIA ECF                                                                      rfama@cozen.com



Catherine O’Hagan Wolfe
Clerk of Court
U.S. Court of Appeals for the Second Circuit
40 Foley Square
New York, New York 10007

Re:    In Re: Oral Phenylephrine Marketing and Sales Practices Litigation
       Case No.: 24-3296



Dear Ms. Wolfe:

I hereby submit this letter request for permission to withdraw as counsel for Defendants Harris
Teeter, LLC and Harris Teeter Supermarkets, Inc., and Appellee The Kroger Co. (collectively
“Kroger Defendants”) in the above-referenced matter. There would be no prejudice to the
representation of the Kroger Defendants as Ms. Natsayi Mawere, Esq., of Reed Smith, is
counsel of record for the Kroger Defendants.

Sincerely,

COZEN O'CONNOR


/s/ Richard Fama



By:    Richard Fama

RF




                       3 WTC   175 Greenwich Street   55th Floor   New York, NY 10007
                       212.509.9400   800.437.7040     212.509.9492 Fax    cozen.com
